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AO 245B (SCDC Rev.02/18) Judgment in a Criminal Case Sheet 1



                           UNITED STATES DISTRICT COURT
                                               District of South Carolina

UNITED STATES OF AMERICA                                                  JUDGMENT IN A CRIMINAL CASE

         vs.
                                                                          Case Number: 6:17-307 (1)
ANTHONY M. VALENTINE
                                                                          USM Number: 32197-171

                                                                          Richard Warder
                                                                          Defendant’s Attorney
THE DEFENDANT:

O     pleaded guilty to count 3 .
G     pleaded nolo contendere to count(s)                                                               which was accepted by the court.
G     was found guilty on count(s) after a plea of not guilty.

The defendant is adjudicated guilty of these offenses:

Title & Section                     Nature of Offense                                   Offense Ended                                   Count
18:924(c)(1)(A)                     Please see indictment                               03/22/2017                                      3




         The defendant is sentenced as provided in pages 2 through 6 of this judgment. The sentence is imposed pursuant to
the Sentencing Reform Act of 1984.
G        The defendant has been found not guilty on count(s)         .
O        The remaining counts are dismissed on the motion of the United States.
G        Forfeiture provision is hereby dismissed on motion of the United States Attorney.



         It is ordered that the defendant must notify the United States Attorney for this district within 30 days of any change of name,
residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this judgment are fully paid. If
ordered to pay restitution, the defendant must notify the court and United States attorney of any material changes in economic
circumstances.

                                                                    ______J_u_ly__1_7_,_2_0_1_8______________________________________
                                                                          Date of Imposition of Judgment


                                                                             Signature of Judge

                                                                    ______J_._M_i_c_h_e_ll_e_C
                                                                                             __h_il_d_s,_U
                                                                                                         __n_it_e_d_S_t_a_te_s_D
                                                                                                                               __is_t_ri_c_t_J_u_d_g_e___________
                                                                          Name and Title of Judge
                                                                             July 18, 2018
                                                                             Date
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AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
         Sheet 2 - Imprisonment                                                                                 P age 2

DEFENDANT: ANTHONY M. VALENTINE
CASE NUMBER: 6:17-307

                                                             IMPRISONMENT

         The defendant is hereby committed to the custody of the Federal Bureau of Prisons to be imprisoned for
a total term of one hundred eighty (180) months.




O       The court makes the following recommendations to the Bureau of Prisons: the defendant be incarcerated
at a facility in South Carolina and be considered for any substance abuse treatment program available through
the Bureau of Prisons.


O          The defendant is remanded to the custody of the United States Marshal.

G          The defendant shall surrender to the United States Marshal for this district:
           G at                       G a.m. G p.m. on                                                           .
           G as notified by the United States Marshal.
G      The defendant shall surrender for service of sentence at the institution designated by the Bureau of
Prisons:
           G before 2 p.m. on                                       .
           G as notified by the United States Marshal.
           G as notified by the Probation or Pretrial Services Office.

                                                                 RETURN
I have executed this Judgment as follows:


Defendant delivered on                                                          to
at                                                                  , with a certified copy of this judgment.

                                                                                       UNITED STATES MARSHAL

                                                                        By
                                                                                     DEPUTY UNITED STATES MARSHAL
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AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
       Sheet 3 - Supervised Release                                                                                P age 3
DEFENDANT: ANTHONY M. VALENTINE
CASE NUMBER: 6:17-307

                                                        SUPERVISED RELEASE
Upon release from imprisonment, the defendant shall be on supervised release for a term of five (5) years.
1. The defendant shall submit to rand urinalysis testing as directed by the United States Probation Office.
2. The defendant shall obtain his GED.
3. The defendant shall participate in a vocational rehabilitation program, if not employed.


                                                   MANDATORY CONDITIONS
1.   You must not commit another federal, state or local crime.
2.   You must not unlawfully possess a controlled substance.
3.   You must refrain from any unlawful use of a controlled substance. You must submit to one drug test within 15 days of release
     from imprisonment and at least two periodic drug tests thereafter, as determined by the court.
         9 The above drug testing condition is suspended, based on the court’s determination that you pose a low risk of future
         substance abuse. (check if applicable)
4.   9 You must make restitution in accordance with 18 U.S.C. §§ 3663 and 3663A or any other statute authorizing a sentence of
         restitution. (check if applicable)
5.    You must cooperate in the collection of DNA as directed by the probation officer. (check if applicable)
6.   9 You must comply with the requirements of the Sex Offender Registration and Notification Act (34 U.S.C. §20901, et seq.) as
         directed by the probation officer, the Bureau of Prisons, or any state sex offender registration agency in the location where
         you reside, work, are a student, or were convicted of a qualifying offense. (check if applicable)
7.   9 You must participate in an approved program of domestic violence. (check if applicable)

You must comply with the standard conditions that have been adopted by this court as well as with any other conditions on the attached
page.
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       Sheet 3A- Supervised Release                                                                                      P age 4
DEFENDANT: ANTHONY M. VALENTINE
CASE NUMBER: 6:17-307

                                     STANDARD CONDITIONS OF SUPERVISION
As part of your supervised release, you must comply with the following standard conditions of supervision. These conditions are
imposed because they establish the basic expectations for your behavior while on supervision and identify the minimum tools needed
by probation officers to keep informed, report to the court about, and bring about improvements in your conduct and condition.

1.        You must report to the probation office in the federal judicial district where you are authorized to reside within 72 hours of
          your release from imprisonment, unless the probation officer instructs you to report to a different probation office or within a
          different time frame.
2.        After initially reporting to the probation office, you will receive instructions from the court or the probation officer about how
          and when you must report to the probation officer, and you must report to the probation officer as instructed.
3.        You must not knowingly leave the federal judicial district where you are authorized to reside without first getting permission
          from the court or the probation officer.
4.        You must answer truthfully the questions asked by your probation officer.
5.        You must live at a place approved by the probation officer. If you plan to change where you live or anything about your
          living arrangements (such as the people you live with), you must notify the probation officer at least 10 days before the
          change. If notifying the probation officer in advance is not possible due to unanticipated circumstances, you must notify the
          probation officer within 72 hours of becoming aware of a change or expected change.
6.        You must allow the probation officer to visit you at any time at your home or elsewhere, and you must permit the probation
          officer to take any items prohibited by the conditions of your supervision that he or she observes in plain view.
7.        You must work full time (at least 30 hours per week) at a lawful type of employment, unless the probation excuses you from
          doing so. If you do not have full-time employment you must try to find full-time employment, unless the probation officer
          excuses you from doing so. If you plan to change where you work or anything about your work (such as your position or job
          responsibilities), you must notify the probation officer at least 10 days before the change. If notifying the probation officer at
          least 10 days in advance is not possible due to unanticipated circumstances, you must notify the probation officer within 72
          hours of becoming aware of a change or expected change.
8.        You must not communicate or interact with someone you know is engaged in criminal activity. If you know someone has
          been convicted of a felony, you must not knowingly communicate or interact with that person without first getting the
          permission of the probation officer.
9.        If you are arrested or questioned by a law enforcement officer, you must notify the probation officer within 72 hours.
10.       You must not own, possess, or have access to a firearm, ammunition, destructive device, or dangerous weapon (i.e., anything
          that was designed, or was modified for, the specific purpose of causing bodily injury or death to another person such as
          nunchakus or tasers).
11.       You must not act or make any agreement with a law enforcement agency to act as a confidential human source or informant
          without first getting the permission of the court.
12.       If the probation officer determines that you pose a risk to another person (including an organization), the probation officer
          may require you to notify the person about the risk and you must comply with that instruction. The probation officer may
          contact the person and confirm that you have notified the person about the risk.
13.       You must follow the instructions of the probation officer related to the conditions of supervision.


U.S. Probation Office Use Only
A U.S. probation officer has instructed me on the conditions specified by the court and has provided me with a written copy of this
judgment containing these conditions. For further information regarding these conditions, see Overview of Probation and Supervised
Release Conditions, available at www.uscourts.gov.




Defendant’s Signature _______________________________________________________ Date __________________________
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 AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
          Sheet 5 - Criminal Monetary Penalties                                                                        P age 5
 DEFENDANT: ANTHONY M. VALENTINE
 CASE NUMBER: 6:17-307

                                             CRIMINAL MONETARY PENALTIES
 The defendant shall pay the total criminal monetary penalties under the schedule of payments on Sheet 6.

                    Assessment            JVTA Assessment*        Fine                                  Restitution

 TOTALS             $ 100.00                                      $                                     $


 G    The determination of restitution is deferred until _____________. An Amended Judgment in a Criminal Case(AO245C) will be
      entered after such determination.

 G    The defendant must make restitution (including community restitution) to the following payees in the amount listed below.

      If the defendant makes a partial payment, each payee shall receive an approximately proportioned payment, unless specified
      otherwise in the priority order or percentage payment column below. However, pursuant to 18 U.S.C. § 3664(i), all nonfederal
      victims must be paid before the United States is paid.

 Name of Payee                              Total Loss*                       Restitution Ordered                 Priority or Percentage




TOTALS                                     $ ____________________                  $___________________


G     Restitution amount ordered pursuant to plea agreement      $

G     The defendant must pay interest on restitution and a fine of more than $2,500, unless the restitution or fine is paid in full before
      the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §3612(f). All of the payment options on Sheet 5 may be subject
      to penalties for delinquency and default, pursuant to 18 U.S.C. §3612(g).

G     The court determined that the defendant does not have the ability to pay interest and it is ordered that:
          G        The interest requirement is waived for the G fine G restitution.
          G        The interest requirement for the G fine G restitution is modified as follows:

*Justice for Victims of Trafficking Act of 2015, Pub. L. No. 114-22.
**Findings for the total amount of losses are required under Chapters 109A, 110, 110A, and 113A of Title 18 for offenses committed
on or after September 13, 1994, but before April 23, 1996.
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AO 245B (SCDC Rev. 02/18) Judgment in a Criminal Case
     Sheet 6 - Schedule of Payments                                                                                         P age 6
DEFENDANT: ANTHONY M. VALENTINE
CASE NUMBER: 6:17-307

                                                  SCHEDULE OF PAYMENTS
Having assessed the defendant’s ability to pay, payment of the total criminal monetary penalties is due as follows:
A     O     Lump sum payment of $ 100.00 special assessment due immediately, balance due

            G   not later than                                     , or

            G                  G C, G D, or G E, or G F below: or
                in accordance with

B     G Payment to begin immediately (may be combined with G C, G D, or G F below); or
C     G     Payment in equal              (weekly, monthly, quarterly) installments of $                     over a period of
            (e.g., months or years), to commence                   (e.g., 30 or 60 days) after the date of this judgment; or


D     G      Payment in equal                          ( e.g., weekly, monthly, quarterly) installments of $                   over a
            period of           (e.g., months or years), to commence                    (e.g., 30 or 60 days) after release from
            imprisonment to a term of supervision; or
E     G     Payment during the term of supervised release will commence within (e.g., 30 or 60 days) after release from imprisonment.
            The court will set the payment plan based on an assessment of the defendant’s ability to pay at that time; or
F     G     Special instructions regarding the payment of criminal monetary penalties:


Unless the court has expressly ordered otherwise, if this judgment imposes imprisonment, payment of criminal monetary penalties is due
during imprisonment. All criminal monetary penalties, except those payments made through the Federal Bureau of Prisons’ Inmate
Financial Responsibility Program, are made to the clerk of court.

The defendant shall receive credit for all payments previously made toward any criminal monetary penalties imposed.

G     Joint and Several

      Defendant and Co-Defendant Names and Case Numbers (including defendant number), Total Amount, Joint and Several Amount,
      and corresponding payee, if appropriate.




G     The defendant shall pay the cost of prosecution.
G     The defendant shall pay the following court cost(s):
G     The defendant shall forfeit the defendant’s interest in the following property to the United States:

As directed in the Preliminary Order of Forfeiture, filed                 and the said order is incorporated herein as part of this judgment.

Payments shall be applied in the following order: (1) assessment, (2) restitution principal, (3) restitution interest, (4) fine principal,
(5) fine interest, (6) community restitution, (7) penalties, and (8) costs, including cost of prosecution and court costs.
